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                 UNITED STATES BANKRUPTCY COURT
                 EASTERN DISTRICT OF CALIFORNIA
                 PDF FILE WITH AUDIO FILE ATTACHMENT

                       2025-10074
                       Capital Farms, Inc



                       Case Type :                    bk
                       Case Number :                  2025-10074
                       Case Title :                   Capital Farms, Inc

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